                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                              )
       v.                                     )         CASE NO. 1:15-CR-8
                                              )
JEREMY LAWS                                   )



                                            ORDER

       On May 27, 2015, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

included offense in Count One of the Indictment, conspiracy to manufacture and distribute five

grams or more of methamphetamine (actual) and fifty grams or more of a mixture and substance

containing methamphetamine, a Schedule II controlled substance, in violation of Title 21, U.S.C.

§§ 846 and 841(a)(1) and 841(b)(1)(B), in exchange for the undertakings made by the government

in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in

the lesser included offense in Count One of the Indictment; (c) that a decision on whether to accept

the plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody

pending sentencing in this matter (Doc. 79). Neither party filed an objection within the given

fourteen days. After reviewing the record, the Court agrees with the magistrate judge=s report and

recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:




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       (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

in exchange for the undertakings made by the government in the written plea agreement, is

ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

offense in Count One of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

September 14, 2015, at 9:00 am.

       SO ORDERED.

       ENTER:

                                                           /s/ Harry S. Mattice, Jr._______
                                                          HARRY S. MATTICE, JR.
                                                     UNITED STATES DISTRICT JUDGE




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